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                              IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION


LAWREN CE P. CIUFFITELLI, et al.,
                                                                         No. 3:16-cv-00580-AC
                Plaintiffs,
                                                                      OPINION AND ORDER
       v.

DELOITTE & TOUCHE LLP, et al.,

               Defendants.

MOSMAN,J.,

       On August 1, 2018, Magistrate Judge John V. Acosta issued his Findings and

Recommendation ("F&R") [340] recommending DENYING the Motion to Dismiss filed by TD

Ameritrade, Inc. [275] and the Joint Motion to Dismiss [278] filed by Duff & Phelps, LLC,

Sidley Austin LLP, TD Ameritrade, Inc., Deloitte & Touche LLP, Tonkon Torp LLP,

EisnerAmper LLP, and Integrity Bank & Trust and GRANTING in part and DENYING in part

the individual motions to dismiss filed by Deloitte & Touche LLP [277], Sidley Austin LLP

[272], and Duff & Phelps, LLC [269]. Judge Acosta also GRANTED Deloitte & Touche LLP's

Motion for Judicial Notice [280].

       Defendants Sidley Austin LLP, TD Ameritrade, Inc., and Duff & Phelps, LLC filed

objections, and Plaintiffs responded to the objections. Defendants Deloitte & Touche LLP,

EisnerAmper LLP, Integrity Bank & Trust, and Tonk.on Torp LLP did not file objections.


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                                          DISCUSSION

       The magistrate judge makes only recommendations to the court, to which any party may

file written objections. The court is not bound by the recommendations of the magistrate judge,

but retains responsibility for making the final determination. The court is generally required to

make a de novo determination regarding those portions of the report or specified findings or

recommendations as to which an objection is made. 28 U.S.C. § 636(b)(l)(C). However, the

court is not required to review, de novo or under any other standard, the factual or legal

conclusions of the magistrate judge as to those portions of the F&R to which no objections are

addressed. See Thomas v. Arn, 474 U.S. 140, 149 (1985); United States v. Reyna-Tapia, 328

F.3d 1114, 1121 (9th Cir. 2003). While the level of scrutiny with which I am required to review

the F&R depends on whether or not objections have been filed, in either case, I am free to

accept, reject, or modify any part of the F&R. 28 U.S.C. § 636(b)(l)(C).

       Upon careful review, I agree with Judge Acosta's recommendations and ADOPT the

Findings and Recommendation [340] as my own opinion. I confirm Judge Acosta's grant of

Deliotte & Touche LLP's Request for Judicial Notice [280] and I:

       (1) DENY Defendants' Joint Motion to Dismiss [278];

       (2) GRANT Deloitte & Touche LLP's Motion to Dismiss [277] in part as to Plaintiffs'

Claims against Deloitte for sales occurring before November 30, 2013, specifically Second

Amended Complaint (SAC) iii! 196(a), 197 (first sentence only), 198(a), 199(b), 200(a), and

20l(a) and (b) and DENY the Motion on all other grounds;

       (3) GRANT Sidley Austin LLP's Motion to Dismiss [272] in part as to claims against

Sidley for sales occurring before April 5, 2013, specifically the SAC iii! 197 (first sentence only),

198(a), 199(b), 200(a), and 201(a) and DENY the Motion on all other grounds;



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       (4) GRANT Duff & Phelps, LLC's Motion to Dismiss [269] in part as to claims against

Duff for sales occurring before February 2014, specifically SAC iii! 196(a), 197 (first sentence

only), 198(a), 199(b), 200(a), and 201(a) and (b) and as to claims against Duff for sales of

securities other than ACOF and ACF, specifically SAC iii! 196(c), 198(d), 199(c), and 202(a) and

(b); I allow Plaintiffs leave to re-plead their non-ACOF and non-ACF claims; and DENY the

Motion on all other grounds;

       (5) DENY TD Ameritrade, Inc.'s Motion to Dismiss [275].

       I further adopt Judge Acosta's recommendation that no further motions to dismiss be

allowed. Any further issues concerning the sufficiency of the claims presented in the SAC or in

any Third Amended Complaint will be addressed on class certification (if appropriate) or

summary judgment (if appropriate).

       This matter is referred back to Judge Acosta for the issuance of an appropriate scheduling

order, including a deadline for filing of a Third Amended Complaint.

       IT IS SO ORDERED.

       DATED thisU        day of September, 2018.




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